          Case 3:21-cv-08197-SMB Document 69 Filed 05/19/22 Page 1 of 2



 1
 2
 3
 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Ryan Cox,                                         No. CV-21-08197-PCT-SMB
10                   Plaintiff,                        ORDER
11   v.
12   CoinMarketCap OpCo LLC, et al.,
13                   Defendants.
14
15
16            The Court having reviewed the Joint Stipulation Regarding Voluntary Dismissal
17   of Defendant Catherine Coley for Plaintiff Ryan Cox (“Plaintiff”) and Defendant
18   Catherine Coley (the “Defendant”) (Doc. 68) and finding good cause,
19            IT IS HEREBY ORDERED as follows:
20         1. All of the claims against Defendant in the above-captioned action are voluntarily
21            dismissed without prejudice pursuant to Federal Rule of Civil Procedure
22            41(a)(1)(A)(ii).
23         2. The statute of limitations with regard to Defendant for the underlying action shall
24            be tolled as of the date of the filing of the complaint, September 13, 2021, and
25            continuing through the final termination of the underlying action and any and all
26            appeals thereto.
27         3. Defendant will make herself available for, and cooperate in good faith with, a
28            deposition of her, to be scheduled, upon the facts and information reasonably
     Case 3:21-cv-08197-SMB Document 69 Filed 05/19/22 Page 2 of 2



 1       related to Case No. 21-cv-08197-PCT-SMB, and any testimony she may be called
 2       upon to offer in the same.
 3       Dated this 19th day of May, 2022.
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                             -2-
